UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

JAMIE MCINTYRE,

Plaintiff,

Civil Action No. 2 3 -(C ~ 0 4 9 9

CREDIT ONE FINANCIAL, EQUIFAX INC.,
EXPERIAN INFORMATION SOLUTIONS INC.,
AND TRANSUNION LEC,

Defendants.

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Plaintiff JAMIE MCINTYRE as and for her Complaint respectfully alleges as follows:
1 INTRODUCTION

1. This is a civil action by Plaintiff, an individual consumer, seeking actual,
statutory and punitive money damages against Defendants CREDIT ONE FINANCIAL
(“Credit One”), EQUIFAX INC. (“Equifax”), EXPERIAN INFORMATION SOLUTIONS
INC. (“Experian”), and TRANSUNION LLC (“Transunion”) for violations of the Fair
Credit Reporting Act, 15 U.S.C. § 1681 et seq. (hereinafter “FCRA”).

ii. JURISDICTION AND VENUE
2. Jurisdiction of this court arises under 15 U.S.C. § 1681(p) and 28 U.S.C. §

1331. Venue in this District is proper in that the Defendant transact business in the city of

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Milwaukee, Milwaukee County, Wisconsin, and the conduct complained of
occurred in Milwaukee, Wisconsin.

I. PARTIES

3. Plaintiff is a natural person residing in Milwaukee, Milwaukee County,
Wisconsin.
4. Plaintiff is a “consumer” as defined by the Fair Credit Reporting Act. 15

U.S.C. §1681a, (b) and (c).

2 Upon information and belief. Defendant Credit One is a Nevada corporation
duly authorized and qualified to do business in the State of Wisconsin.

6. Upon information and belief, Defendant Experian is an Ohio corporation
duly authorized and qualified to do business in the State of Wisconsin.

7. Upon information and belief, Defendant Equifax is a Georgia corporation
duly authorized and qualified to do business in the State of Wisconsin.

8. Upon information and belief, Defendant Transunion is an Hlinois corporation
duly authorized and qualified to do business in the State of Wisconsin.

IV. FACTS OF THE COMPLAINT

8. In February 2023, Plaintiff obtained a copy of her consumer report and

discovered incomplete, inaccurate, false information furnished by the Defendant,

specifically a tradeline by Credit One account number 444796251101 ****,

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9. On or about February 27, 2023, Plaintiff sent written disputes to Defendants
disputing the completeness and/or accuracy of the account, specifically the last verified
was inaccurate: the date of last activity was inaccurate; the date opened was inaccurate;
and, the payment status was inaccurate.

10... Upon information and belief, Defendants Experian, Equifax and Transunion
sent a dispute to Credit One providing all relevant disputed information.

11. = In April 2023, Plaintiff noticed that the inaccurate account information was
still being reported on her consumer report.

12. As a result of the actions and inactions of Defendants, Plaintiff suffered
damages, including but not limited to, her FICO scores to be lowered resulting in her being
denied credit or being granted credit with a much higher interest rate, severe humiliation,

emotional distress and mental anguish.

V. FIRST CLAIM FOR RELIEF
15 U.S.C. § 1681le(b)
(Defendant Credit One, Experian, Equifax and TransUnion)
13. Plaintiff re-alleges and incorporates by reference paragraphs !-12 above.
14. Defendants Credit One, Experian, Equifax and TransUnion violated 15
U.S.C. § 168le(b) because they failed to follow reasonable procedures to assure maximum

possible accuracy of the Credit One trade line information when preparing a consumer

report purportedly concerning Plaintiff.

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15. Defendants Credit One, Experian, Equifax and TransUnion have caused
injury in fact to Plaintiff by causing mental and emotional distress, damage to credit rating,
and other damages to Plaintiff.

16. At all times alleged herein, Defendants Credit One, Experian, Equifax and
TransUnion acted negligently and/or willfully.

17. Defendants Credit One, Experian, Equifax and TransUnion 1s liable to
Plaintiff for actual damages, punitive damages and costs pursuant to 15 U.S.C.

§$1681n and actual damages and costs pursuant to 15 U.S.C. §1681o.
VI. SECOND CLAIM FOR RELIEF
15 U.S.C. §1681i(a)(2)
(Defendants Credit One, Experian, Equifax and TransUnion)

18. Plaintiff re-alleges and incorporates by reference paragraphs |-17 above.

19. | Defendants Credit One, Experian, Equifax and TransUnion have failed to
comply with the reinvestigation requirements in 15 U.S.C.
$16811.

20. Defendants Credit One, Experian, Equifax and TransUnion have violated {5
U.S.C. § 1681i(a)(2) in that they failed to consider and forward all relevant information to
the CRA’s (credit reporting agencies).

21. Defendants Credit One, Experian, Equifax and TransUnion have caused

injury in fact, by causing, among other effects, mental and

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emotional distress, damage to credit reputation, and resulting in credit damages to Plaintiff.

22. Defendants Credit One, Experian, Equifax and TransUnion have done so
either negligently or willfully.

23. ~~ Plaintiff is entitled to actual damages, punitive damages and costs pursuant
15 U.S.C. § 168 lo.

24. — Alternatively, Plaintiff is entitled to actual damages and costs if the violation
is negligent, pursuant to 15 U.S.C. §1681n.

VII. THIRD CLAIM FOR RELIEF
15 U.S.C. §1681i(a)(4)
(Defendants Credit One, Experian, Equifax and TransUnion)

25. Plaintiff re-alleges and incorporates by reference paragraphs 1-24 above.

26. Defendants Credit One. Experian, Equifax and TransUnion have violated 15
U.S.C. §1681i(a)(4) in that they failed to delete information that was inaccurate or could
not be verified.

27. Defendants Credit One, Experian, Equifax and TransUnion have caused
injury in fact to Plaintiff by causing mental and emotional distress, damage to credit rating,
and resulting in credit damages to Plaintiff.

28. At all times alleged herein, Defendants Credit One, Experian, Equifax and
TransUnion acted negligently and/or willfully.

29. Defendants Credit One, Experian, Equifax and TransUnion are liable to

Plaintiff for actual damages, punitive damages and costs pursuant to 15

U.S.C. §1681n and actual damages and costs pursuant to 15 U.S.C. §1681o.

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VII. FOURTH CLAIM FOR RELIEF

15 U.S.C. §1681i(a)(6)(B) (ii)
(Defendants Credit One, Experian, Equifax and TransUnion)

36. Plaintiff re-alleges and incorporates by reference paragraphs |-35 above.

37. Defendants Credit One, Experian, Equifax and TransUnion have violated [5
U.S.C. § 1681i(a)(6)(B)(iii) in that they failed to have a procedure to prevent giving false
information upon re-investigation.

38. Defendants Credit One, Experian, Equifax and TransUnion have caused
injury in fact to Plaintiff by causing mental and emotional distress, damage to credit rating,
and resulting in credit damages to Plaintiff.

39, At all times alleged herein, Defendants Credit One, Experian, Equifax and
TransUnion acted negligently and/or willfully.

40. Defendants Credit One, Experian, Equifax and TransUnion are liable to
Plaintiff for actual damages, punitive damages and costs pursuant to 15
U.S.C. §1681n and actual damages and costs pursuant to 15 U.S.C. §1681o.

XI. JURY DEMAND AND PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests a jury trial and entry of judgment in
favor of Plainaff and against all Defendants for:

A. Actual or statutory damages pursuant to 15 U.S.C. § 1681 n(a)(1)(A).
B. Actual damages pursuant to 15 U.S.C. § 1681lo(a)(1);

C. Costs pursuant to 15 USC § 1681 n(a)(3);

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D. For such other and further relief as the Court may deem just and

proper.

Respectfully YE
Dated: April 4, 2023 A Lif

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2320 W HOPE AVE
Milwaukee, WI 53209

Pro Se

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